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                                          June 25th, 2024
VIA CM/ECF ONLY:
Hon. Fernando Galindo, Clerk
U.S. District Court – Eastern District of Virginia
Walter E. Hoffman U.S. Courthouse
600 Granby Street
Norfolk, VA 23510

               Re:     Submission of Exhibit - Video
                       Michael T. Rusk v. James City County, et al.

Dear Mr. Galindo,

        I have initiated the above-referenced civil action today by submission of a Complaint via
CM/ECF. It is my intention to file video recordings as Exhibits in this action. Please be advised
that I will have a physical copy of these video recordings hand-delivered to your Courthouse.
Should you have any questions or concerns regarding this matter, please contact me.

Sincerely,

W. Peyton Akers
William Peyton Akers, Esq.
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